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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NUMBER 18-24996-CV-MOORE
(17-2008 1-GR-MOORE)
MAGISTRATE JUDGE REID
ABDUL PIERRELUS,
Movant,
Vv.

UNITED STATES OF AMERICA,

Respondent.

 

CERTIFICATION

Movant, Abdul Pierrelus, files this certification attesting that he fully understands that his
petition places certain privileged communications between himself and his lawyer at issue. As
such, undersigned counsel has explained to Mr. Pierrelus that, pursuant to Johnson v. Alabama, 256
F.3d 1156, 1179 (11th Cir. 2001), and other authorities cited by this Court in its order appointing
counsel, that he waives the privilege in those communications with respect to those
communications that he has made relevant in his petition challenging his conviction. Mr.
Pierrelus has confirmed that he is waiving this privilege with the following certification:
I, Abdul Pierrelus, acknowledge and understand that by raising a claim of ineffective assistance of
counsel, I have waived my attorney-client privilege with regards to those communications that I

have put at issue in my petition.

 

cage

~ Abdul Pierrelus

 
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Respectfully submitted,

do Campo & Thornton, P.A.
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By: — s/_ Orlando do Campo
Orlando do Campo
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CERTIFICATE OF SERVICE
J HEREBY CERTIFY that on October 24, 2019, I electronically filed the foregoing
document with the Clerk of the Court using CM/ECF,

s/ Orlando do Gampo
Orlando do Campo
